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 5

 6   Attorneys for Defendant
     PAUL VAN DALEN
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                     Case No. 1:10 CR 00417 AWI
11                        Plaintiff,               STIPULATION AND ORDER REGARDING TRIAL
12          vs.                                    BRIEFING SCHEDULE

13   PAUL VAN DALEN,

14                        Defendant.
15

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17          Per the Court’s order the parties have met and conferred and agreed on the following
18   briefing schedule:
19                1. Motions shall be due on November 4, 2013;
20                2. Responses to Motions shall be due on December 2, 2013;
21                3. Oral Arguments shall be heard on December 16, 2013 at 10:00 however, the
22                   government may have a scheduling conflict with this date and the parties shall
23                   continue to be flexible and cooperative with respect to the hearing date.
24

25   DATED: October 1, 2013                                Respectfully submitted,
                                                           Rains Lucia Stern, PC
26
                                                           /s/ Harry S. Stern
27                                                         Harry S. Stern
                                                           Attorneys for Defendant
28
                                                           PAUL VAN DALEN
                                                        1
                                   United States of America vs. Paul Van Dalen
                   STIPULATION AND [PROPOSED] ORDER REGARDING TRIAL BRIEFING SCHEDULE
                       Case 1:10-cr-00417-AWI Document 286 Filed 10/03/13 Page 2 of 2

 1                                                                  Goyette & Associates, Inc.
 2                                                                  /s/ Paul Q. Goyette
                                                                    Paul Q. Goyette
 3                                                                  Attorneys for Defendant
                                                                    CHRISTOPHER COLEMAN
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                                                                    Law Offices of E. Marshall Hodgkins, III
 6                                                                  /s/ E. Marshall Hodgkins, III
 7                                                                  E. Marshall Hodgkins, III
                                                                    Attorneys for Defendant
 8                                                                  SEAN PLYMALE

 9
10
                                                                    /s/ W. Scott Quinlan
11                                                                  W. Scott Quinlan
12                                                                  Attorneys for Defendant
                                                                    MICHAEL MANFREDI
13

14
                                                                    U.S. Department of Justice
15                                                                  /s/ Jared H. Fishman
                                                                    Jared H. Fishman
16
                                                                    Attorneys for Plaintiff
17                                                                  UNITED STATES OF AMERICA

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21   IT IS SO ORDERED.
22   Dated:                 October 2, 2013
23                                                          SENIOR DISTRICT JUDGE
     DEAC_Signature-END:




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                                               United States of America vs. Paul Van Dalen
                               STIPULATION AND [PROPOSED] ORDER REGARDING TRIAL BRIEFING SCHEDULE
